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                         UNITED STATES DISTRICT COURT
                              DISTRICT OF MAINE



    BRIDGET PARKER                             )
    Plaintiff,                                 )
                                               )
    v.                                         )    Civil No. 2:17-cv-00216-GZS
                                               )
    JOSH DALL-LEIGHTON, et al                  )
    Defendants,                                )

                                   JUDGMENT
            In accordance with the Order on Plaintiff’s Motion to Strike and
      Defendants’ Motion to Dismiss entered on December 8, 2017, and the Order
      on Motion for Default Judgment entered on September 25, 2018 by U.S.
      District Judge George Z. Singal,
            JUDGMENT of Dismissal with prejudice is hereby entered for
      Defendants Scott Landry, Dr. Joseph Fitzpatrick, Randall Liberty, and the
      State of Maine;
            JUDGMENT of dismissal is further entered for Defendant Renee
      Shanks on Counts VII, VIII, IX, and XI;
            DEFAULT Judgment is hereby entered for Plaintiff Bridget Parker,
      against Defendant Joshua Dall-Leighton, on Counts I and XI in the amount
      of $900,000, and on Count X in the amount of $200,000, plus interest as
      allowed by law.
            All other counts as to Defendant Joshua Dall-Leighton are dismissed
      with prejudice.


                                                   CHRISTA K. BERRY
                                                   CLERK
                                         By:       /s/ Michelle Thibodeau
                                                   Deputy Clerk
Dated: October 2, 2018
